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                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION


UNITED STATES OF AMERICA,

              Plaintiff,

v.                                                    Case No. 06-CR-20411-DT

D-1 - RUDOLPH DALRON WILLIAMS,
D-2 - FRANK PIERCE,
D-3 - DARRYL PIERCE,
D-4 - DERRICK YOUNG,
D-5 - CLARENCE JACKSON,

              Defendants.
                                                 /

 ORDER DENYING DEFENDANTS CLARENCE JACKSON AND FRANK PIERCE’S
  MOTIONS TO PRECLUDE RELEASE OF THEIR POST-ARREST STATEMENTS

       On December 12, 2006, the court conducted a status conference in the above-

captioned matter. From discussions during the conference, the court gathered the

understanding that the Government has adopted an essentially “open file” posture in

this case, and has agreed to provide to each Defendant all the information currently in

its possession other than grand jury materials and except as provided by the Jenks Act,

18 U.S.C. § 3500.

       The court also heard certain concerns of counsel on behalf of Defendants Frank

Pierce and Clarence Jackson at the prospect of the Government releasing to other

defendants statements made by–or at least attributed to–their clients. The court

suggested that to more fully address their concerns, these Defendants may wish to file

motions in an effort to persuade the court that there is a basis to preclude the
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Government from releasing such post-arrest statements.1 Motions were filed, and this

issue has been fully briefed. The court concludes that a hearing on the motion is not

necessary. See E.D. Mich. LCrR 1.21; E.D. Mich. LR 7.1(e)(2). For the reasons stated

below, the court will deny Defendants’ motions.

      In his motion, Jackson contends that his statement should not be released

because the other Defendants have no right to the disclosure of his statement. (Id.)

While none of his co-defendants claim that they have the right to obtain access to the

statements at issue, Defendant Derrick Young2 submits that it is Jackson who has the

burden of showing that he has the right to prevent the Government from releasing his

statement if the Government would be inclined to do so. (Young’s Resp. at 1.) The

court agrees, and reiterates the position communicated to the Defendants during the

conference, that any Defendant seeking to preclude the release of his statement has

the burden of demonstrating the legal basis for preventing the Government from

releasing that statement.

      Jackson primarily argues that the release of his post-arrest statement would

serve no useful purpose. Jackson first claims that his statement could not “be remotely

helpful to any of the other defendants charged in their respective presentations to the

Department of Justice regarding their being subject to the death penalty.” (Jackson’s

Mot. at 2.) Young disagrees, and posits that “[t]here may be aspects of Defendant

Clarence Jackson’s statement that mitigate the culpability of some of the co-defendants,



      1
        Because Frank Pierce simply joins in Jackson’s motion, the court will address
the merits of Jackson’s motion only.
      2
       Defendant Darryl Pierce joins in the objections submitted by Defendants Young
and Rudolph Williams.

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and this information could be used to persuade the government not to seek the death

penalty against those co-defendants.” (Young’s Resp. at 2.) Furthermore, if the

Defendants’ statements contain discrepancies, those may also be helpful in

“persuad[ing] the Justice Department that there could be witness credibility problems,”

which may, again, “mitigate against the authorization of the death penalty,” or in

“persuad[ing] the Department of Justice that the statement of Clarence Jackson is a

self-serving statement that should not be given much weight against a particular co-

defendant.” (Id.)

       Second, Jackson claims that his statement is unhelpful to his co-defendants

because it would be inadmissible hearsay against any of them under Federal Rules of

Evidence 801(d)(2)(E) and 802, and would also be inadmissible under Crawford v.

Washington, 541 U.S. 36 (2004) and Davis v. Washington, ___ U.S. ___; 126 S. Ct.

2266 (2006). (Jackson’s Mot. at 2.) Both Williams and Young agree the statements are

inadmissible as against them, but submit that it is this inadmissibility that supports their

disclosure. (Young’s Resp. at 3; Williams’s Resp. at 2.) Williams and Young contend

that because Jackson’s statement would be admissible as against him in their joint trial,

they need to read the statement to determine whether to file a motion for severance

under Federal Rule of Criminal Procedure 14. (Young’s Resp. at 3; Williams’s Resp. at

2.)

       Finally, Jackson argues that it is unnecessary to provide his co-defendants with

his statement at this stage in the litigation because his statement will not be used at trial

if the court determines that the police obtained the statement in violation of Jackson’s

constitutional rights. (Jackson’s Mot. at 2.) Young contends that even if Jackson’s



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statement was “obtained involuntarily or in violation of the Fourth Amendment . . . the

remedy for such a constitutional violation is suppression of the statement at trial, not

expungement of the statement from the eyes of the co-defendants. Defendant cites no

law in support of the latter.” (Young’s Resp. at 3.)

          Given the numerous and compelling reasons raised by Young and Williams as to

why Jackson and Frank Pierce’s statements may be helpful to the other Defendants, the

court easily finds that releasing the statements could serve a useful purpose. Because

Jackson and Frank Pierce offer no other substantive rationale that would authorize this

court to prevent the Government from releasing the statements to other Defendants,

they have failed to satisfy the burden established by the court.

          IT IS ORDERED that Defendant Clarence Jackson’s “Motion to Preclude

Release of Clarence Jackson’s Post-Arrest Statement” [Dkt. #64] and Defendant Frank

Pierce’s “Joinder in Motion to Exclude Post-Arrest Statement” [Dkt. #66] are DENIED.



                                                                S/Robert H. Cleland
                                                               ROBERT H. CLELAND
                                                               UNITED STATES DISTRICT JUDGE

Dated: February 2, 2007

I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, February 2, 2007, by electronic and/or ordinary mail.


                                                                S/Lisa Wagner
                                                               Case Manager and Deputy Clerk
                                                               (313) 234-5522




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